       Case: 1:19-cv-04933 Document #: 1 Filed: 07/23/19 Page 1 of 28 PageID #:1

                                                                                                                            D/
                 [lf you need additional space for ANY section. please attach an additional sheet and reference   *",F"f,
                                                                                                                            L    E D

                                     UNITED STATES DISTRICT COURT                                                     JUL g S    2019
                                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                                                                                                                    THOMAS G. BRUTON
                                                                                                             CLERK U.S. DtsTRtcT couRT
    Perez O^IB*ztlkYA
                                                                )
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                                                                )     case        9+v-04933
                                                                               1 .1
                                                                )
                                                                               Judge Ruben Castillo
   lI!       ^/0,:-.0          e? frWM *vrf\                                   Magisfate Judge Jeffrey T. Gilbert
   0F uqr1M                      kgvlL6


       This is an action for employment discrimination.

       rhepraintirris          PeTeR- O. C BftLrt AYE               __*of the
  county of                  Cool<      in the state or I LLI N O I                                                         .



  3.   The defencl un       ir                                                                                                   or"
  street address is          l5l SAurht ;J00D trAG€
  @i$ Ctfich@ t"ountyy Cc 0 !z- tstutey t LLtil                                                0   tS   Gy 6 0 6 I Z
  (Defendant's telephone           number) t3l7-l - zu'                           3   5L         O
 1'    The plaintiff sought employment or was employed by the defendant at (street address)

       ll5l Sgvlrb N?oD STAee;{                                                          rctvt     Cr+r           €ftm
       lcountyl     C0QIL-(*ut") /L                                 ew
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      5.       The    plaintiff lcheck one box)

               (a) tr           \,vas denied employment           by the defendant.

               (b) il           lvas hired and is still employed by the defendant.

               (c) tr           was employed but is no longer employed by the det-endant.

     6-        The defendant discriminated against the plaintiff on or ab-out. or beginning on or about,
               lmontrrl        f/Frl(filaY       ,   @uy) 0     ?-      . tvear) 20 I        6   .



     7.1       (Choose paragraph 7.1             or   7.2, do   not complete both.)

               (a)     The defendant is not a federal goverrrmental agency, and the plaintiff
                       [check one box) Ehas Ahus not filed a charge or charges against the defendant

                       asserting the acts of discrimination indicated in this complaint with any of                           the
                       following govemment agencies:

                       (i) (the         United states Equal Employment opporrunity commission, on or about

                               (monthl         fv\4Y (duv)O6 tvr^020 17.
                       (ii) E       the Illinois Department of Human Rights, on or about

                               (month)

              (b)      If   charges were frledwith an agency indicated above, a copy of the charge is

                      attached'!( Yes, E No, but plaintiff will file                     a copy of the charge           rvithin      14 days.


              It is the policy of both the Equal Employment Opportunity Commission and the uinois

              Department of Human Rights to cross-file rvith the other agency all charges received.
                                                                                                    The

              plaintiff has no reason to believe that this policy was not followed in this                          case.




    7.2      The defendant is a federal governmental agency, and

             (a)         the   plaintiff previously filed        a Complaint       of Emptoyment Discrimination with the

                 [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]

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             [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]




       defendant asserting the acts of discrimination indicated in this court complaint.

                   E    Yes (month)                                     (day)_              (year)

                  E     No, did not file Complaint of Employment Discrimination

       (b)        The plaintiff received a Final Agency Decision on                         (month)    mel
                    rauv)       14         (year)     ZOt       I
       (c)        Attached is a copy of the

                  (i)   Complaint of Employment Discrimination,

                        {y",           E No, but a copy rvill be filed u,ithin l4 days.
                  (ii) Final Agency Decision

                        dy",           E N0, but a copy will be filed r,vithin l4 days.

8.     (Complete paragraph 8 onty if de.fendant is not a.federal governmental ctgency)

       (a)   tl         the United States Equal Employment Opportunity Commission has not

                        issued a Notice of Right to Sue.

      &)          the United States Equal Employment Opportunity Commission has issued
           X
                        a   Notice of Right to Sue, which             r,vas   received by the plaintiff on

                        @ont:'4 h, h1                     touyl I 4                tvearl   90 I 7 a copy orwhich
                             --__--..=r-
                        Notice is attached to this complaint.


9.    The defendant discriminated against the plaintiff because of the plaintiff s
                                                                                   lcheck only

      those that applyl:

      (a) tr      Age (Age Discrimination Employment Act).

      (b) fl      color (Title vII ofthe Civil Rights Act of r964 and 42 u.s.c. g t98t).


           llf you need additional space for ANY section, please attach an additional sheet and reference that section.]

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                   [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]




             (c) tr       Disability (Americans rvith Disabilities Acr or Rehabilitation Act)

            (d)X          National Origin (Title VII of the Civil Rights Act of 1964 and 42 U.S.C. 198 I
                                                                                                  S      ).

            (e) fl        Race (Title     vll   of the Civil Rights Act of 1964 and 42 u.s.c. glggt).

            (0 tr         Religion (Title VII of the Civil Rights Act of 1964)

            (g) E         Sex (Title    VII of the Civil Rights Act of            1964)


             If the defendant is a state. count)'. municipal (city, torvn or village) or other local

            goverrlmental agency, plaintiff further alleges discrimination on the basis of race, color,
                                                                                                        or

            national origin (42 U.S.C. g 1983).


             Jurisdiction over the statutory violation alleged is conferred as follows: for Title                             VII
            claims by 28 U.S.C.g 133 l, 28 U.S.C.!\ 1343(a)(3), and 42 U.S.C.$2000e-5(0(3): for 42

            u.s.c.$      198   I and $ 1983 by 42 u.S.C.Q          1988r for the      ADA by 42 u.s.c.g tzfiT; for                 the

            Rehabilitation Act, 29 u.s.c. g 791: and for the ADEA. 29 u.s.c. g 626(c).


 12.        The defendantlcheck only those that applyl
            (a)    tr   failed to hire the plaintiff.

            (b)    tr   terminated the plaintiff's employment.

            (c)         failed to promote the plaintiff.
               F
            (d) tr      failed to reasonably accommodate the plaintiff s religion.

            (e)    tr   failed to reasonably accommodate the praintiff s disabilities.

            (0f,        failed to stop harassmenr;

            (e)f,                                                                         to assen rights
                        f,B,tet:g BiiHslltt:.qHfififlh"fii$e?#,."BltrB,t{$,fl0'sffiirling
            (hlpother(speciry):                   bJ oft tq A^OW {oUt,Y{
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       Case: 1:19-cv-04933 Document #: 1 Filed: 07/23/19 Page 5 of 28 PageID #:5

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13.                                                                                                                               q4+oct're-.c->
          The facts supporting the plaintiff s claim of discrimination are as follows:
                                                                                                                       G="
          d5. be 0 c                                           ce at                  ( qal              1." 9'    u    Q-
                                                   ^tof-t
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             fr^d' n,\ a nol elgG s t avt of lU* Cs,vtvvttst, 6a
             P"o 6ro seL dl-st -f t rv1 o* tLg- Co ,n vwt f f t t-r1
                 '.hh'v-,*i/t h*',o^4-o4 C0""
                          c-(q CqfL                        oF               k-fu\G.                                                         hs,
t4.       IAGE DISCRIMINATION ONLY Defendant knowingly, intentionally, and willfully
          discriminated against the plaintiff.

15.       The plaintiff demands that the case be tried by                      a   jury. EI Yes     tr   No

t6.       THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
          lcheck only those that apply)

          (a) E               Direct the defendant to hire the plaintiff.

          (b) E               Direct the defendant to re-employ the plaintiff.

          (c) ,H Direct the defendant to promote the plaintiff.
          (d) E Direct the defendant to reasonably accommodate the plaintiff s religion.
          (")            E    Direct the defendant to reasonably accommodate the plaintiffls disabilities.

         (0              E    Direct the defendant to (specify):

                                   tosF         Wqfr       QJ,        Ql-.yri c<(                flir&*ca     fq L         G.vt

                         €q oh^.o[ qbo€L fio*n g;-L'.trth"nn , ?ar"\ nsaffer,n,
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     Case: 1:19-cv-04933 Document #: 1 Filed: 07/23/19 Page 6 of 28 PageID #:6


                  [lf you need additional space for ANY section, please attach an additional sheet and reference that section.]




                            If available, grant the plaintiff appropriate injunctive relief, Iost wages,
                            liquidated/double dama_qes, front pay, compensatory damages, punitive
                            damages, prejudgment interest, post-judgment interest, and costs, including
                            reasonable attorney fees and expert rvitness fees.

           (h) (            C.ont such other relief as the Courr may find appropriate.




            =P'Oboz-
           (Plaintiffls signarure)
                                           - J--<-
                       |.e,c              - Ob?-,w(4
           (Plaintiff     s name)


              t+7                    V   t c1gf-lr:* S,16                        ,

           (Plaintiff     s street address)



           rcnvtWAlcALtl                              (stute)      [L           (zrp)     60      r[3
          (Plaintift-stelephone            ru*arr1ffi- 6ZO - q g                                   -7
                                                                                                        O

                                                                                     Date:           lltsltq




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EEOC   tum 16t   (11/16)                     U.S. EoUAL EMPLoYMENT OPPoRTUNtw GommIsslon

                                                     Drsmrssal AND Norce oF                        RTGHTS
To:     Peter O. Obazuaye                                                                  From: Ghicago District Office
        1433 Victoria Avenue                                                                     500 West Madison St
        Berkeley, lL 60,163                                                                      Suite 2000
                                                                                                 Chicago, IL 60661


                                On behalf of person(s) aggrieved whose identity is
                                coNFtDENTtAL (29 CFR 61601.7(d)
EEOC Charge No.                                     EEOC Representative                                                Telephcne No.

                                                    Sergio Maldonado,
440-2019-02800                                      lnvestigator                                                       (sl2) 869-8129
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
       tl          The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.


       E           Your allegations did not involve a disability as defined by the Americans With Disabilities Act.


       E           The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.

       tl          Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                    discrimination to file your charge

       E           The EEOC issues the following determination: Based upon its investigation, the EEOC is unable to conclude that the
                   information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
                   the statutes. No finding is made as to any other issues that might be construed as having been raised by this charge.

       tf          The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.


       E            Olher (biefly state)


                                                             . NOTIGE OF SUIT RIGHTS -
                                                       (See the additional information aftached to this form.)

Title Vll, the Americans with Disabilities Act, the Genetic lnformation Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuitmustbefiledEIIts!Wofyourreceiptofthisnotlce;oryourrighttosuebasedonthischargewillbe
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
allegedEPAunderpayment'Thismeansthatbackpaydueforanyviolationsthatoccurred@
before you file suit may not be collectible.

                                                                         On          of the
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 Enclosures(s)
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                                                                                                                           (r"r"
                                                                                                                           ,'
                                                                                                                                      "*rr)
            II.LINOIS DEPARTN'!ENT OF                           RIGHTS
            c/o Ganapathi Ramaswamy
            Deputy General Counsel
            401 S.         Clinton,6s Floor
            Chicago, lL 60602
                              Case: 1:19-cv-04933 Document #: 1 Filed: 07/23/19 Page 8 of 28 PageID #:8
EEOC   Forln s (1rl0e)


                                     CHen,cE         or DISCruUINATION                                              ChargePresentedTo:                       Agency(ies)ChargeNo(s):

                     This form is affected by the Prlvacy Actof 1974, See enclosed Privacy Act
                                                                                                                          I
                                                                                                                          Errr
                           Statement and other informatlon before completing this form.

                                                                                                                          @      rEoc                             a4e2o19-028oo

                                                                                                       OfHuman                                                                    and rr,oc


Name (indicate      Mr, Ms, Mrs)                                                                                                             Home Phone                      Year          ofBirth

 PeterO Obannye                                                                                                                         (toa) szvagto                                 1966
street Address                                                                             city, state and ztP code

1433 Victoria Avenue, BERXELEY, IL 60163


Named is the Employer, Labor Organization, Employment Agency, Apprenticeship Committee, or State or Local Government Agency That I Believe Discriminated
Against Me or 0thers. (Ifmore than two, fist under PARTICUUAS below.)
Name                                                                                                                                No. Employee!, Memberu                 Phone No.


srATE Or IIUNOIS, DEPARTMENT                                  OF    HUIIAN SERVICES,                                                        501+                     (stz\ oss-sszo
    Address
street                                                                                      city, state and zlP code

1151 sotrth wood street, chicago, CI{ICAGO, 1L60612


Name                                                                                                                                No. Employe€s, Members                 Phone No,




Street Address                                                                              city, state and zlP code




DISCRIMINATIoN           B   tszo oN (check appropriate box(es).)                                                                           DATE(S) DISCzuMINATION   TOOK PLACE
                                                                                                                                                      Earliest                        Latest


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                                                                                                                                                             .o*r,"rrNcAcroN
                     I          I   omen (specify)
                                                                                                                                                     [l
THE PARTTCULARS ARE (Ifadditional paperis neded, attach ertra sheet(s)):
  I began my emplo)nnentwith Respondent on or aboutFebnJary 16,2006.Irdycurent-posiHon is Registered Nurse II. Duringmy
  emp-loyment, I wa! denied a prodotion. on or about March 3, iorz, t ffled a-charge of discriminaHon (Iorn+ zrg -2017'{10976),
  Su6sequently, nespondent failedto noH$ me of upcominglayoft with strfficientttne thatwould have dlowed me to apply                                                                           for
  two promodons. As a resul! I was transferred to Respondents locadon in Elgin

  I believe I am being discriminated against ln retaliation for engaging in protected acHvtty, in violaHon of Title VII of the Civil
  Rights Act of 1964, as amended.




I want this charge filed with both the EEOC and the State or local Agency, ifany. I will                   NOTARY   -   When nrcessaty for State and Local Agency Requirements

advise the agencies ifl change my address or phone number and I will cooperate fully with
them in the processingofmv charge in accordance rvith their prccedrres,
                                                                                                           I swear or affirm that I have read the above charge and that          it   is   true to the
I declare under penalty              ofperjury that the above is true and correct.                         best of my knowledge, information and belief.
                                                                                                           SIGNATURE OT COMPLAINANT




                                                                                                           SUBSCRIBED AND SWORN TO BETORE ME THIS DATE
           Digitally dgned by reter Obazuaye on o5{G2019 03:15 PM EDT                                      (nonth, day,yeal
           Case: 1:19-cv-04933 Document #: 1 Filed: 07/23/19 Page 9 of 28 PageID #:9
             Ftr,mc Surr m CoURT oF ConapnrrNT.trunrsucrroN
 '     PRrl'rrr Sutr Rrcrrrs

       The issuance of this Notice of Right to Sue or Disnissol and Notice of Rights ends the EEOC process w'ith
      respect to your Charge. You may file a Iarvsuit against the Respondent rvithin 90 days from the date I'ou
      receive this Notice. Therefore, you should keep a record of the date. Once the 90 day period is over, your
      right to sue is lost. If you intend to consult an altorney, you should do so as soon as possible. Furthermore, in
      order to avoid any question that you did not act in a timely manner, if 1'ou intend to sue on your otvn behalf;
      1,our suit should be filed rvell in advance of the expiration of the 90 day period.

       You may file I'our laivsuit in a court of competent jurisdiction. Filing this Notice is not sufficient. A court
      complaint must contain a short Statement of the facts of your case rvhich sho*'s that you are entitled to relief.
      Generally, suits are brought in the State rvhere the alleged unlarvful practice occurred, but in some cases can
      be brought rvhere relevant emplol'ment records are kept, *'here the employment rvould have been, or u'here
      the Respondent has its main office.

     You may contact the EEOC if you have any questions about 1'our rights, including adyice on rvhich court can
     hear I'our case, or if y'ou need to inspect and copy information contained in the case file.

                                                                      ..2I8', A\.D },oUR CIL{RGE 1},.\s
     IT TTIN FIRST TI{REE CTLTR,\CTERS oF },oUR EEoc CIfARGE NUilIBER,\RE
     I.\I'ESTIGATED BY TNE IIIIXOIS DEP.TRTITENT OF HUUX RIcurs (IDHR), REQUEST FoR REl.IE\!'ING ,\ND
     coPl'rNG DocultENTs FROII youR FILE w      BE DIRECTED TO TDIIR.


     A larvsuit against   a pril'ate employer is generally   filed in the U.S. District Court.

     A lan'suit trnder Title ViI of the Civil Rights Act of 1964, as amended, against a State agency or a political
     subdivision of the State is also generally filed in the U.S, District Court.

 How'et'er, a larvsuit under the Age Discrimination in Employment of the American rvith Disabilities Act or,
 prohably, the Equal Pa,v Act against a State instnrmentaliry'(an agency directll,funded and controlled by the
 State) can only be filed in a State court.

 A law'suit under the Age Discrinrination in Employment Act or the American rvith Disabilities Act or the
 Equal Pay Act against a political subdivision of a State, such as municipalities and counties, may be filed in
 the U.S. District Court.

 For a list of the U.S. District Courts, please see the reverse side.

 Arro     ru\s y Re rRss gxrATroti

 lf 1'ou cannot afford an attorney, or have been unable to obtain an attomey to represent you, the court having
jurisdiction in your case may assist you in obtaining a lalvl'er. If you plan to ask the court to help you obtain
 a la*1'er, 1'ou must make this request of the court in the form and manner it requires. Your request to the
court should be made rvell in advance of the 90 day period mentioned above. A request for representation
does not relieve you of the obligation to file a larysuit rvithin the 90-day period.

DesrRucrroli oF FrLE

If 1'ou file suit, you or your attorney should foiivard a copy of y'our court complaint to this office. Your file
rvill then be preserved, Unless you have notified us that you have filed suit, your Charge file could be
destroyed as early as six months after the date of the Notice of Right to Sue.

Ir you    FILE   sutr, t'ou oR t'ouR,\TToR\Ey st(oulD NorIFl'THIS oFFICE w'uEN TIIE L.{}vs[ar rs RESot,r'ED.
Case: 1:19-cv-04933 Document #: 1 Filed: 07/23/19 Page 10 of 28 PageID #:10
                                 INnonrvurroN oN \YHERE To FILE suIT
        you have been notified of your right to sue in Federal District Court. Suit is ordinarily filed in
        the District having jurisdiclion ofihe county in rvhich the employer, against whgm 1'ou filed
                                                                                                         a

        Charge of employlnent discrimination, is Iocated. The telephone number     Iisted for each

        District is that of the Clerk of the Court.
                    COIIRT
        U.S, DISTRICT                                       U.S. DISTRICT COLIRT
    Northem District of Illinois                            Central District of Illinois
    Eastern Division at Chicago                             Urbana Division
    219 South Dearborn Street                               201 South Vine
    Chicago, lL 60604                                       Llrban4 IL 61801
    312-435-5670                                            2t7-373-5830
                         Counties                                                    Counties
    Cook                                  Kendall           Champaisn                           Kanjcakee
    DuPaee                                Lake              Coles                               Macon
    Crundy                                LaSalle          Douglas                              Moultrie
    Kane                                  will              Edear                               Piatt
                                                           Ford                                 Vermillion
                                                           Iroquois
   U.S. DISTRICT COURT                                     Peoria Division
   Northern District of Illinois
   Western Division at Rockford                            100 N.E. Monroe Strec't
   2l I South Court Street                                 I35 Federal Building
   Federal Building                                        Peoria, lL 61602
   Rockford, IL      6l l0   I                             309-67t-7I17
   815-987-1355

                                  Coun ties                                          Cou   n   ti es
                                         lvlcHenry         Bureau                              lvl c [.c an
   Boonc
   Carroll                               Oqle              Fulton                              Pcoria
   DeKalb                                Steohenson        Hancock                             P   uln itttt

   Jo   f)av iess                        \V'lr iteside    Knox                                 S   lilrk
                                         Winnebaqo        Livingston                           I n7C\\C
   Lee
                                                          Marshall                             \\'ood lirrtl
                                                          lvlcDono ugh
  U.S. DISTRICT COURT                                     Rock Island Division
  Southern District of Illinois                           2lll9'h Street
  750 lr{issouri Avenue                                   Rock Island, IL 61201
  East St. Louis, IL 62201                                309-793-s778
  618-182-067 I
                                   and
  301 irfain Street
  Benton, lL 62812
  6 I 8-43 8-067 I
                                 Counties                                         Counties
  Alerander                           Johnson              Ienderson                       Rock lsland
  Bond                                Lartrcnce          flenrv                            Wa-rren
  Calhoun                             lvf adison         lvlerce r
 CIark                                lvlarion           Sprinefield Division
 Clintoa                              Ilonroe            600 East lv'lonroe Street
 Crarvlord                            P:rrv              Springfield, IL 62701
 l'rrmherlrn,l                        Dn^r
                                                         217-492-4020
 Edrvards                             Pu laski
 Effingham                            Randolph                                    Cou nties
 Fayerte                              Richlard           Adams                             Logan
 Franklin                             St. Clair          Bronn                             ivlacoupin
 Callatin                            Salini              Cass                              ivlason
 Harnilton                            IJnion             Christian                         I![enard
tlardin                              Wabash              DeWitt                            *'lont
Jackon                               Washinrton          Gree n                            lvforgan
Jrspcr                               Wavnc               Pike                              Schuvler
Jaffcrson                            $vhite              Shelby
!erlxy                               lVilliamson
   Case: 1:19-cv-04933 Document #: 1 Filed: 07/23/19 Page 11 of 28 PageID #:11
               u.s. EQUAL EMPLOYMENT OppORTIiNrTy COMMTSSTON
                                Chicago District Office
                                                                                             500 West Madison Street, Suite 2000
                                                                                                             Chioago,tL 60661
                                                                                                            PH: (312)869-8000
                                                                                                       TTY: (312)869-8001
  FILE REVIEWS FAX: (312) 869-8220                                                        ENFORCEMENT FAX: (312) 859-8220
  MEDIATION:     (3 12) 869-8060                                                         STATE & LOCAL FAX: (312) 869-8077
  HEARINGS     FAx:   (312) 869-8125                                                             LEGAL FAX: (312) 869-8124




                      NOTICE OF DISCLOST]RE RIGHTS
  Parties to an EEOC charge are entitled to review and obtain copies of documents contained in their
  investigative file. Requests must be made in writing to Sylvia Bustos and either mailed to the address
  above, faxed to (312) 869-8220 or sent via email to svlvia.bustos@eeoc.gov (please chose only one
  method, no duplicate requests). Be sure to irtclutle vour name, oddress, ohone number ond dEOC
  cltarge number witlt vour reouest

  If you   are the Charging Party and a RIGHT TO SUE has been issued, you may be granted access                      to your
  file:

  *         Before filing a lawsuit. but rvithin 90 days of your receipt of the Right to Sue, or

 *          After vour lawsuit has been filed. If more than 90 days have elapsed since your receipt of
            the Right to Sue, include with your request a copy of the entire court complaint (with court
            stamped docket number) or enough pages to determine whether it was filed based on the
            EEOC charge.

 If you are the Resoondent you may be granted access to the file onlv afrer a lawsuit    has been filed.
 Include with your request a copy of the entire court complaint that includes an official court stamped
 docket number.

 Pursuant to federal statutes, certain documents, such a$ those lvhich reflect the agency's deliberative
 process, will not be disclosed to either party.

You must sign an Agreement of Nondisclosure before you are granted access to the file, which will be
sent to you after receipt of your written request. (Statutes enforced by the EEOC prohibit the agency
from making investigative information public.)

The process for access to the file         will begin ng Iater   than ten (10) dayq following receipt of your request.

When the file becomes available for review, you will be contacted. You may review'the file in our
offices and/or request that a copy of the file be ient to you. Files may not be removed from the office.

Your file will be copied by Aloha Print Group, 60 East Van Buren, Suite 1502, Chicago, IL 60605,
 (312) 542-1300, You are responsible for the copying costs and must sign an agreement to pay these
costs before the file will be sent to the copy service. Therefore, it is recommended that vou firit review
vour file to determine lvhat documents, if'any, you want copied. EEOC will not review your file or
provide a count of the pages contained in it. If you choose not to review your file, it will be sent in its
entiretv to the copy service, and vou wiII be responsible for the cost. Payment must be made directly
to Aloha Print Group, which charges 15 cents per page.

(Revised 04t20D0l6,pretious copies obsolete)
   Case: 1:19-cv-04933 Document #: 1 Filed: 07/23/19 Page 12 of 28 PageID #:12




                      CIVIL SERVICE COMMISSION
                             STATE OF ILLINOIS



Peter Obazuaye,

                        Petitioner,

                                                    Case No.   LA- 2l-19

          Vs                                        Administrative Law Judge,

Illinois Department of Human Services, )            Andrew Barris.

         Respondent.                           )




                       Statement of Claim

I began my employment with Respondent on or about November 16, 2005. My
current position is Registered Nurse II. During my employment, I was denied a
promotion. On or about September l6 and March 3,2017, I filed a charge of
discrimination (IDHR# 2lB -20 17 -0097 6). Subsequently, Respondent failed to
notify me of upcoming layoffs with sufficient time that would have allowed me to
apply for two promotions. As a result, I missed out of the opportunities for
promotion. The Respondent then transferred me another location in Elgin.

I am being discriminated against in retaliation for engaging in protected activity, in
violation of Title VII of the Civil Rights Act of 1964, as amended.

The Respondent claimed that the Civil Service Commission has no jurisdiction to
rule on my claims. I submit that the Civil Service Commission has the jurisdiction
to rule on my claims based on the following sections in the administrative code.

   .   Section 1.100 Appeal of Layoff
   .   Sectio4 1.110 Allegations of Personnel Code and Rule Violations
   .   Section 1.120 Appeal of Geosraphical Transfers
   Case: 1:19-cv-04933 Document #: 1 Filed: 07/23/19 Page 13 of 28 PageID #:13




I will be representing myself in the matter. This statement of claims is sent via
email:

For the Respondent: Jessika.ishu@illinois.eov
Commissioner: andrew.barris@illinois.sov and beckie.daniken@illinoi
s.gov




This claim is true and correct to the best of my knowledge and belief.

Sincerely,



Peter Obazuaye

May 28,2019
        Case: 1:19-cv-04933 Document #: 1 Filed: 07/23/19 Page 14 of 28 PageID #:14                                      about:blank




                    BEFORE THE CTVIL SERVICE COMMISSION, STATE OF ILLINOIS

         PETEROBAZUAYE,



                                   v.                                           I-A-21-19

         ILLINOIS DEPARTMENT OF HUMAN SERVICES,

                                                 Respondent.


                                FINDING AND DECISION OF TIIE COMIVIISSION

        The undersigned, having read the Proposal for Decision of the Administrative Law Judge dated
        July 5, 2019 to dismiss the appeal for no jurisdiction and send the issue to the Corunission for
        resolution pursuant to Section 1.240 of the Rules of the Civil Service Commission and the
        Petitioner's Motion to Amended Complaint and Establish a Prima Facie Case, hereby deny the
        Petitioner's Motion and affirm and adopt said Proposal and certify it to the Director of the Illinois
        Departrnent of Cenhal Management Serviees.
        Findins: It is hereby determined that the Administrative Law    Judge found a question of law, fact,

        or policy wtrich   if   resolved by the Commission would materially advance the resolution of the
        dispute. The Commission finds they have no jurisdiction over this layoffappeal      as the   Petitioner
        was not laid   off   ln accordance therewith, the Administrative Law Judge dismissed the appeal,
        subject to the approval of the Commission.

        Decision: The undersigrred approve the dismissal of the
        order subject to the Administrative Review Law.




                                                                          Vivian Robinson, Commissioner


        Entered this l8m day
        of July 2019
                                        Obazuaye v. DHS, LA-21-19, Page   I   of 2




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          Case: 1:19-cv-04933 Document #: 1 Filed: 07/23/19 Page 15 of 28 PageID #:15                                about:blank




          This decision now constitutes a fi.nal administrative decision, which may not be reopened or

          further reviewed by this Commission. Decisions of the Commission may only be reviewed under

          the provisions of the Adminishative Reyiew Law (735ILCS 5/3-101, et seq.). Commission rules

          do not allow or require any motion or request for reconsideration. The following is a list of all

          parties of record to the appeal including the name and address of the Commission and the

          addresses of each party as known to the Commission where the parties may be served       with

          pleadings, notices, or service ofprocess for any review or further proceedings.


          Addresses of the Parties:

          State of Illinois Civil Service Commission
          607 E. Adams Street, Suite 801
          Springfield, lL 627A1

          Illinois Department of Human Services
          100 S. Grand Avenue East, 3d Floor
          Springfiel( [L62762

          Mr. Peter Obazuaye
          1433 Victoria Avenue
          Berkley, IL 60163


          Your request for administrative review must be filed within 35 days from the date a copy of this
          decision is served upon you.




                                      Obazuaye v. DHS, LA-21-19, Page2 af 2




2   of2                                                                                                       7/22/2019 2:47 PM
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            Case: 1:19-cv-04933 Document #: 1 Filed: 07/23/19 Page 16 of 28 PageID #:16




              Dani€! Stralka                                 State of Illlnols                        Timothy D. Sid(meyer
           EXECUIIVE DIRECTOR                    CIVIT SERVICE COM MISSION                                CHAIRMAT{
                                                    607   E. Adams  Streeb Suit6 801
                                                           Springfi€!4 It 62701                        COMI,IISSIONERS
                                                          PHONE (217) 782-7373                             G.A, Finch
                                                           FAX (217) s24-3706                          David Luechtefeld
                                                           TTY (888) 261-2819                           Vlvian Roblnson
                                                                                                         Casey Urlacher
                                                  www2.illinois. gov/sites/Ic S C

                                                              July 3, 2018
          BY ELECTRONIC MAIL
          Mr. Peter Obazuaye
          peterobazuave@hotmail. com

          Ms. Jessika [shu
          Assistant General Counsel
          Illinois Dept. of Human Seryices
          i essika.ishu@.illinois. eov




                  ln   re:   Peter Obazuaye, Petitioner v. Illinois Departrnent of Hrrman Services, Respondent
                             (LA-21-19)

          Attached is the Proposal for Decision in the above captioned appeal. On his own motion, the
          Administrative Law Judge has referred this issue to the Commission for resolution as an interlocutory
          appeal pursuant to Section 1.240 of the Rules of the        Civil Service Commission.
          Either side now has an opporrunity to respond before the Commission renders a decision on this issue.
          Your response must be filed by 4:00 p.m. on July 15, 2019 in the office of the Civil Service
          Commission located at 607 E. Adams Sheet, Suite 801, Springfield, lL 627A1. You may file your
          response by electronic mail by agreement of the parties. A copy of your response must be sent to all
          padies.

          The Commission intends to render a decision on this matter at its open and public meeting on
          Thursday, July 18, 2019 by interactive video conference in the Chicago and Springfield offices. You
          will be notified of that decision shodly thereafter.
                                                                       Sincerely,


                                                                      I
                                                                       Al\,t-.--
                                                                      Andrew Barris
                                                                      Assistant Execu tive Director
          Enclosure

          cc:    Central Management Services
                 Agency Director




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           Danlel stralka                                  State of Illinois                        Timothy D. Sad(meyer
        EXECUTIVE DIRECTOR                       CIVIL SERVICE COM MISSION                              CHAIRMAN
                                                  607 East Adams Skeet, Sulte 801
                                                        Sprtngfiel4 IL 62701                         COIIMISSIOItIERS
                                                       PlroNE (217) 782-7373                             G,A. Finch
                                                        FAX (217) s24-3706                           David Llechtef€!d
                                                        TTY (888) 261-2819                            VIvlan Robinson
                                                                                                       Casey Urlacher




         BY ELECTRONIC MAIL

         Mr. Peter Obazuaye
         peterob azuay e@iro tmail.   cr'r   m

         Ms. Jessika Ishu
         Assistant General Counsel
         Illinois Dept. of Human Services
         Jessika.ishutQillinois.eov

                 In   re:   Peter Obazuaye, Petitioner v. Illinois Department of Human Services (DHS),
                            Respondent (LA-21-19)


         Dear Mr. Obazuaye and Ms. Ishu:

         This is the Proposal for Decision in the above matter.

                                                      FINDINGS OFFACT

         1. The Petitioner was a Registered           Nurse II (RN I[) at the Illinois Center for Rehabilitation and

              Education     -   Wood (ICRE-Wood). By letter dated January 11, 2019, the Petitioner was

              informed that he rvas targeted for layoffon March 15,2019.

         2.   On March 15, 2019, the Petitiorer filed a layoff appeal with the Civil Service Commission

              (Commission). In his layoffappeal, the Petitioner stated, "I humbly wish to appeal unjust and

              unlawful lay off against me.        I   am a certified State     of Illinois employee located at ICRE-

              IVOOD, Chicago. My current immediate Supervisor is Derrick Phillip. I have w'orked for




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               thirteen years with honesty, integrity and tnrth serving Skte      of Illinois, tax payers and our

               customers."

          3.   In sum, the Petitioner alleged the following in his layoff appeal:

                   .   Allegation#7     -   The Respondent violated 20 ILCS 415/8b.13 and 20 ILCS

                       4l5ll2f      because   the layoff was in retaliation for the Petitioner filing    a

                       mmplaint with the Deparhnent of Human Rights.

                  .    Allegation #2    -   The Respondent violated 20 ILCS 415/8b.13 and 20 ILCS

                       4l5ll2f      because the Petitioner was "denied employee       riglt to   grievance

                       hearing for    layoff' as well as a 'aacant permanent position at employing

                       facility.'

                  .    Allegation #3   -    The Respondent violated 20 ILCS 415/13 because "Mr. John

                       Gordon was dishonest, untruthful and give false statement to two investigations

                       on charges file for using his power to prevent employees of national origin from


                       P'romotion."

                  .    Allegation     lA - The Respondent violated a DHS            "Equal Employment

                       Opportunity/Affimrative Action (EEO/AA) Discrimination and Harassmenf'

                       policy because      'Mr.   John Gordon uses his power to hold vacancies positions

                       from current ernployees of national origin getting promotion and target

                       ernployees of national origins for lay     off."

          4.   The Petitioner attached the following documents to the layoffappeal:

                  r    A   letter dated January      ll,   2019 from DHS Labor Relations informing the

                       Petitioner that his position had been targeted for layoff on March 1 5, 2019. The

                       letter stated that his position was targeted for layoffpursuant to Article   XI of




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                    the INA Master Collective Bargaining Agreerrent (union contact). The letter

                    also outlined the Petitioner's recall rights pursuant to Section 4 of the union

                    contract.

                r   A CMS Grievance Report and Record fomr signed by the Petilioner on January

                    29,2019 in which he contested his layoff as well the Respondent's denial ofhis

                    request to move to other positions in lieu of layoff.

                r   An email from the Petitioner to "Mr. Phillips" in which he requested               a


                    permanent vacant position at ICRE-Wood as well as announcing that he would

                    file   a grievance and/or contact the   Civil Service Commission.

                r   A notice from the U.S. Equal Employment Opportunify Commission regarding

                    the illegality of workplace retaliation.

                .   A copy of "Section 2. General LayoffProcedures" from the union contract.

        5.   On May 10, 2019, the Respondent provided a response to the layoff appeal. The Respondent

             stated that the Commission was without jurisdiction over this layoff appeal as well as    denlng

             any wrongdoing. In sum, the Respondent argued the following:

                r   The Commission does not have jurisdiction over this layoff appeal because the

                    Petitioner was never laid       off.    Instead, the Petitioner accepted   a lateral

                    reassignment in lieu of layoff from his position at ICRE-Wood to the Elgin

                    Mental Health Center.

                .   The Respondent denied that the Petitioner was unfairly targeted for layoff.

                    Rather, three RN     II   positions at ICRE-Wood were eliminated (including the

                    Pelitioner's position) and the layoff process was conducted pursuant to the

                    union contract. The Respondent stated, "As such, and because there were no




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                     available bargaining unit positions to select at ICRE-Wood, Petitioner, as the

                     most senior of the three affected employees, was offered first choice among

                     available lateral positions at other facilities."

                 r   The Respondent did not prevent the Petitioner from pursuing   a   union grievance.

                     Rather, the union contract (as        well as the Rules of the Civil       Service

                     Commission) prohibit the Petitioner from filing both a union grievance and an

                     appeal with the Commission. When the Petifioner filed his layoffappeal with

                     the Commission, he waived his rights to the union grievance process and his

                     union grievance was temrinated.

                 o   The Respondent denied the Petitioner's allegations regarding discrimination,

                     dishonesty and/or an abuse ofpower. The Respondent argued that the proposed

                     layoff plan and the Petitioner's lateral reassignment was determined by the

                     union contract. Regarding other claims by the Petitioner as to his ability to get

                     a   promotion, the Respondent concluded, "Further, the allegations do not claim

                     to involve positions for which Petitioner would have been eligible, and as such

                     are irrelevant   to the current layoff      appeal and should be dismissed or

                     disregarded."

         6.   The Respondent provided several attachments to the response including, but not limited to:

                 r   A CMS Personnel Position Action Form stating that the Petitioner accepted        a


                     lateral assignment in lieu of layoffeffective March 16,2019.

                 .   The agency's layoff plan indicating that the layoff of three RN IIs at ICRE-

                     Wood was necessary due to a change in the administrative code which removed

                     the provision of medical services at the facility.




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                   .    The amendments to the administrative rules published in the Illinois Register in

                        which medical services at ICRE-Wood were removed.

          7.   On May 29,2019, the Petitioner filed a rebuttal in which he maintained that the Commission

               has "the jurisdiction to rule on unjust lay   offthat affect Certified State Employees"   as   well   as


               "Jurisdiction to rule of unjust geographical location change." The Petitioner also raised

               allegations regarding promotions, discrimination, grievances, investigations, fraud, retaliation,

               and his supervisor acting as   a'\rork   place bully."

                                                CONCLUSIONS OFLAW

          t.   Section 1.232 of the Rules of the Civil Service Comrnission sets forth the burden of proof for

               appeals and states:

                   a.   The proponent of any matter asseded shall have the burden of proof to establish
                        by a preponderance of the evidence that the matter asserted is more probably
                        true than not true.

                  b.    When a parly has the burden of proof and establishes the matter asserted by the
                        required quantity of evidence, the party has made a prima facie case, and the
                        burden of disproving the matter asserted goes to the opposing party by the same
                        quantity ofevidence.

          2.   Section 1.100 (a) of the Rules of the Civil Seryic€ Commission states, in pertinart part, that a

               layoff appeal shall be filed with the Commission '\rithin 15 calendar days following the

               effective date of layoff."

           ,. Section 1.141(a) of the Rules of the Civil Service Commission states, in pertinent part, the

               "Commission shall give full recognition and effect to provisions of collective bargaining

               agreements relating     to wages, hours and conditions of employment          reached under the

               provisions of the Illinois Public Labor Relations Act [5 LCS 315]."

          4.   Section   l.l4l(b) of   the Rules of the Civil Service Commission states, in pertinent part,

               "Employees whose positions are zubject to collective bargaining agreements may appeal




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             disciplinary actions, demotions, layoffs, geographical Eansfers orrule violations eitherthrough

             the procedure set forth in the agreement or through the Commission, but not both."

        5.   20 ILCS 415/10(12) states, in pertinent part, that the Commission shall "hear or conduct

             investigations as it deems necessary of appeals of layoff filed by employees appointed under

             Jurisdiction B after examination provided that zuch appeals are filed within 15 calendar days

             following the effective date of such layoffand        are made on the basis   that the provisions of the

             Personnel Code or of the Rules of the Department of Central Managernent Services relating to

             layoff have been violated or have not been complied with."

        6.   Section 302.596 of the Personnel Rules         -   Appeal by Employee   -   states,   'Within   15 calendar

             days following the effective date of such layoff and without prejudice to the right to request

             voluntary reduction, an employee may make written appeal to the Civil Service Commission

             contesting such layoff."

        1    Simply put, the Commission does not have jurisdiction over this layoff appeal                      because

             Pstitioner was never laid   off.   Rather, he accepted a lateral reassignment in lieu of        layoff. As

             such, there was no   layofi nor   an   effective date of layoff- two prerequisites for the Commission

             to have jurisdiction over this appeal. Moreover, the evidence indicates that the layoffplan and

             the Petitioner's lateral reassignment were implernented pursuant to the terms of the union

             contract. The Commission must give "full recopition and effect" to provisions of a collective

             bargaining agreement regarding wages, hours and conditions of employment. Despite the

             Petitioner's desire for the Commission to address a variety             of complaints regarding the
             proposed layoff pian and several other aspects of his employment at DHS, the Commission

             has no jurisdiction to do   so. The jurisdiction of the Commission is limited, and any authority

             claimed by it must be conferred by statute. Brown v. Department of Corrections, T99 Ill.App.3d




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              648, 557 N.E.2d 492 (1990). Even              if   the Commission wanted to conduct a hearing due to

              concerns about an employee's workplace allegations, it is without authority to do so in a                   layoff

              appeal   if the employee was never laid off.

         8.   While the Commission does not          have   jurisdiction over this layoffappeal, the Commission           mrl
              have jurisdiction over some of the Petitioner's other allegations should the Petitioner properly

              file a rule violation     appeal pursuant          to Section   1.110   of the Rules of the Civil Service

              Commission. However, based upon the evidence, statements and arguments put forth by the

              parties, the Petitioner must recognize several aspects of the rule violation appeal process as                   it

              relates to the many different complaints he expressed regarding DHS:

                  o    The Commission only has jurisdiction over the Personnel Code or Personnel

                       Rules in a rule violation appeal.

                       The Petitioner must cite a specific section of the Personnel Code or Personnel

                       Rules that was allegedly violated and must "set forth with particularity a

                       statement of facts" as to how the specific section of the Personnel Code or

                       Psrsonnel Rules was 'Aiolated or not complied with."

                       A rule violation appeal "must be filed within 180 days after the date on which

                       the affected person knew, received written notice of, or, through the use                     of

                       reasonable diligence, should have known                   of the alleged violation            or

                       noncompliance."




         I To be clear, even if the Commission has jurisdiction over any complaints alleged by the Petitioner ia a properly plead

         rule violation appeal, it does not necessarily mean that a violation of the Personnel Code or Rules occuned. Rather,
         it simply means the Commission has the authority to investigate whether a violation of the Personnel Code or
         Personnel Rules occurred.




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                 r    Section 1.1a1(a) of the Rules of the Civil Service Commission states that the

                      Commission "shall give   flill recognition and effect to provisions of collective

                      bargaining agreements relating to wages, hours and conditions of employment."

                  r   Section    LI4l(b) of the Rules of the Civil   Senrice Commission states that

                      employees whose positions are subject to collective bargaining agreements may

                      appeal "rule violations either througlr the procedure set forth in the agreement

                      or through the Commission, but not both."

                                            PROTOSAL EOR DECISION

          For the reasons set forth above, the Civil Service Commission is without jurisdiction over this

          layoff appeal. To materially advance the resolution of the disputg and upon motion of the

          Administrative Law Judge, this issue is referred to the Conunission for resolution pursuant to

          Section 1.240 of the Rules of the Civil Service Commission.



                                                                   $,
                                                                C"{r.,-
                                                               Andrew Barris
                                                               Administrative Law Judge

          Entered this 5th day   of

          July 2019




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                        CIVIL SERVICE COMMISSION
                                STATE OF ILLINOIS



Peter Obazuaye,            Petitioner                 )

                                                      )      Case No.   LA- 2l-19

           Vs                                            )   Administrative Law Judge,

Illinois Department of Human Services,               )       Andrew Barris.

          Respondent.                                )



      MOTION TO AMENDED COMPLAINT AND ESTABLISH A
PRIMA FACIA CASE.

 1. Peter Obazuaye, Petitioner was layoff from work effective March

16- 31r2019. On January 24r2019, I stated in the meeting with labor
management and Illinois nurses association after proposed lay off that I will
been affected and I requested a lay off pending when I am able to resolve
family hardship lay off would caused me. I was not given any other option but
lay off to Elgin mental health center and other Nurses jobs in hiring agency.

I was home from March 16 to March 3lr2019 dealing with the hardship that
change of work and geographical location to Elgin Mental Health center,
Elgin caused me and family. I resumed to Elgin mental Health center on
April 1,2019.    Review the document attached 1,2r&3.

 Section 302.507 Definition of Layoff
A layoff is the placement of an employee in non-paid and non-working status without prejudice
either temporarily or indeterminately. No agency may lay ofI, either temporarily or
indeterminately, an employee as a means or form of discipline.
(Source: Amended at 8 Ill. Reg. 7788, effective May 23,1984)
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The civil service commission has a jurisdiction to rule on this case because lay
off occurred and the petitioner was affected.

2. Respondent violated the personnel rule as stated below, the Petitioner
(Peter Obazuaye) was given list of contractual jobs in the hiring agency and
the List of non contractual job was not given to me.

Section 302.540 Effective Date of Layoff
Merit compensation system/broad-banded employees subject to layoff shall be given 30 days
notice of the layoff by the employing agency. A list of all current non-bargaining unit vacancies
of all positions within the agency shall be provided to the merit compensation
system/broadbanded employee with the notice of layoff. If any bargaining unit vacancy remains
after allcontractual obligations are fulfilled, those bargaining unit vacancies may be offered to
nonbargainingunit staff to minimize the impact of the layoff. Vacancy for any employee subject
tolayoff is defined as the current, funded, vacant position that management has the present
intention to fill. Unless extraordinary operating conditions or events are specified in the
proposed layoff plan, no indeterminate layoff shall be effective until ten working days after the
Director's approval of the layoff plan.




3. Respondent violated the personnel rule as stated below, I requested to
lateral transfer to vacant permanent position in hiring facility/agency,
Executive II, Public Administration Service or Residential Care Supervisor. I
was denied.

Section 302.550 Employee Opportunity to Seek Voluntary Reduction or Lateral Transfer
A certified employee as defined in Section 302.530 who is subject to indeterminate layoff as a
result of the Director's approval of a layoff plan shall be promptly notified 30 days prior to the
effective date of layoff, and shall then be advised of the opportunity to request voluntary
reduction to a current vacant position in accordance with Section 302.500 or lateral transfer to a
current vacant position having the same maximum permissible salary or rate in accordance with
Section 302.410 or 302.435 within the agency. An employee seeking voluntary reduction muSt
request the voluntary reduction in writing to the head of the employing agency prior to the
proposed effective date of layoff.


Section 302.560 Order of Preference in Voluntary Reduction or Lateral Transfer
a) Voluntary Reduction
In the event a certified employee as defined in Section 302.530 requests voluntary
reduction as a result of his/her pending indeterminate layoff, the certified
employee shall be preferred for any current vacant position in a lower class within
the same agency and location in which the employee is then incumbent at the time
of the layoff over any probationary or provisional employee, any employee or
applicant on an eligible list for the vacant position, any certified employee subject
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to layoff having lesser continuous service and any certified employee requesting   a
reduction who is not subject to layoff.

b) Lateral Transfer
In the event a certified employee requests a lateral transfer as a result of his/her
pending indeterminate layoff, the certified employee shall be preferred for any
current vacant position whose classification has the same maximum permissible
salary or rate within the same agency over any probationary or provisional
employee, any employee or applicant on an eligible list for the vacant position,
any certified employee subject to layoff having lesser continuous service and any
certified employee requesting lateral transfer who is not subject to layoff.
(Source: Amended at 33 Ill. Reg. 16560, effective November 13,2009)




4. Respondent violated the personnel rule as stated below, Petitioner                  was
denied promotion from January 02, 2016 to March 1512019. Respondent has
a policy against any discrimination of employees from promotion.

Section 302.790 Prohibition of Discrimination
a) Discrimination against any person in recruitment, examination, appointment,
training, promotion, retention, or any other personnel transaction, because of
religion, race, national origin, sex, age, handicap or any other non-merit factor is
prohibited except where such may be a bona fide job qualification.
b) Any applicant or employee who feels adversely affected in employment because
of such discrimination shall have resort to the grievance procedure hereunder and
may be joined in such procedure by the Affirmative Action Director or designee
where necessary or appropriate.




5. Respondent violated the personnel rule  as stated below, Pditioner'sright
to grievance against pending lay off was denied at step two by the Chief
Bureau, John Gordon.

Section 303.10 Definition of a Grievance
a) A grievance is any question between an employee and hisftrer employing agency,
or applicant as covered in 80 Ill. Adm. Code 302.790, concerning the meaning,
interpretation or application of this Part, or the Personnel Code or any issue
concerning them or conditions of state employment which directly affect the
grievant in the perforrnance of his/her official duties.)
Section 303.20 Procedure
a) Grievances shall be submitted in accordance with the following procedure unless
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the Director permits an agency to vary the number or content of the steps therein
prescribed upon the written request of the operating head of an agency and for
good cause shown therein, except that a grievance arising out of interpretation
and/or application of a provision contained within a collective bargainingagreement shall be
heard pursuant to the procedures established therein for the respective bargaining unit.
b) An employee's failure to submit a gtievance, or to submit or appeal it to the next
level of this procedure within specified time limits therefor, shall mean that the
employee has withdrawn the grievance or accepted the last answer given in the
grievance procedure if the employee so indicates.
c) Step l: A grieving employee shall present the grievance orally to the immediate
supervisor explaining its nature and circumstances within 5 scheduled working
days after learning of the circumstances or condition which gave rise to it. The
immediate supervisor shall answer within 5 scheduled working days of its
presentation.
d) Step 2: If the grievance is not satisfactorily resolved or no answer is given within
5 scheduled working days of its presentation, the employee may, within l0 days
of the date the Step I answer was due, submit the grievance to the next higher
supervisor by reducing the grievance to writing on a form prescribed by the
Departrnent for such purpose and presenting it to the next higher supervisor or the
person designated to act at this Step. A written answer thereto shall be given
within 5 working days of its receipt by such person.



Summary of prima facie case. Petitioner was layoff from work effective
March 16 -31r2019, Respondent violated five personnel rules on layoff,
Promotion and Grievances. The civil service commission has a jurisdiction to
rule on this matter. Petitioner suffered emotional and mental abuse from the
misconduct caused by Respondent.



Sincerely,

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